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CHRISTOPHER J. CAVALERI

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

CHRISTOPHER J. CAVALERI,       )             CASE NO.:
                               )
          Plaintiff,           )             COMPLAINT; SUMMONS
                               )
     vs.                       )             (In Admiralty)
                               )
BLUE DOLPHIN CHARTERS,         )
LTD.; DOE DEFENDANTS 1-20,     )
DOE CORPORATIONS, 1-20, DOE )
GOVERNMENT AGENCIES 1-20, )
DOE PARTNERSHIPS 1-20,         )
                               )
          Defendants.          )
                               )
______________________________ )
_

                                 COMPLAINT

      Plaintiff CHRISTOPHER J. CAVALERI (herein “CAVALERI” or “Plaintiff”),

by and through his undersigned counsel, sets forth the following Complaint against

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Defendants BLUE DOLPHIN CHARTERS, LTD. (herein “BLUE DOLPHIN”), DOE

DEFENDANTS 1-20, DOE CORPORATIONS, 1-20, DOE GOVERNMENT

AGENCIES 1-20, DOE PARTNERSHIPS 1-20, as follows:

                       I.     Parties, Jurisdiction, and Venue

      1.     This is a case of admiralty and maritime jurisdiction as more fully alleged

herein, and is an admiralty and maritime claim within the meaning of Rule 9(h) of the

Federal Rules of Civil Procedure.

      2.     Jurisdiction is based upon 28 U.S.C. § 1333 (admiralty) as this action is a

claim for injuries sustained by a passenger aboard a vessel in navigation upon the

navigable waters of the United States. This Court also has diversity jurisdiction

pursuant to 28 U.S.C. § 1331 because Plaintiff and all Defendants are citizens of

different states, and the amount in controversy exceeds $75,000 exclusive of interest

and costs. Venue is proper in this district pursuant to 28 USC § 1391 because

Defendants reside in this district and a substantial part of the events giving rise to

Plaintiff’s claims occurred in this district.

      3.     Plaintiff CAVALERI is and was, at all relevant times herein, a resident of

Morgan County, State of Colorado.




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      4.     Upon information and belief, Defendant BLUE DOLPHIN is and was all

times relevant herein a limited liability company registered to do business in the State

of Hawaii (Kauai) for the purpose of operating boat tours in Kauai, and is and was the

owner, operator, lessor and/or charterer of a zodiac vessel (herein “the Vessel”) upon

which the accident, as described below, occurred.

      5.     DOE DEFENDANTS 1 through 20, DOE CORPORATIONS 1 through

20, DOE GOVERNMENT AGENCIES 1-20, and DOE PARTNERSHIPS 1-20, are

sued herein under fictitious names for the reason that their true names and identities

are presently unknown to Plaintiffs, except that they are persons and/or entities who

are in some manner presently unknown to Plaintiffs engaged in the activities alleged

herein; and/or are in some manner responsible for the injuries and damages to

Plaintiffs; and/or are persons and/or entities who conducted some activity in a

negligent and/or willful manner; which conduct was the proximate cause of the

injuries or damages to Plaintiff and/or were in some manner related to the previously

named Defendants engaged in the activities alleged herein; and Plaintiff prays leave to

insert their true names and capacities, activities and/or responsibilities, whether

individual or corporate, when the same are ascertained. Plaintiff has been unable to

ascertain the identities of these DOE DEFENDANTS through a thorough examination



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of all documents available to Plaintiff at this time. Defendant BLUE DOLPHIN and

DOE DEFENDANTS may be collectively referred to herein as “Defendants”.

                              II.    General Allegations

      6.     On or around August 8, 2016, Plaintiff CAVALERI purchased tickets for

he and his wife to participate on a scenic cruise and snorkeling excursion to the Na

Pali coast with Defendants on the Vessel. The seas were extremely rough due to a

storm that recently passed and the vessel had to turn around before tour was complete.

      7.      During the trip, while the Vessel was returning to port, the Vessel

suddenly and without warning began racing another vessel that was alongside it. Due

to the carelessness of the Defendants and the rough ocean conditions, Plaintiff was

violently thrown from his seat approximately 5-6 feet in the air. Plaintiff landed hard

on his left side resulting in severe injuries, including but not limited to injuries to his

left wrist, left hip, left knee , back , neck and head, and aggravations of preexisting

injuries which had resolved prior to the accident. Plaintiff received treatment at the

emergency room at the Kauai Medical Clinic in Lihue and later returned home to

Colorado for further treatement. Plaintiff was unable to work for a period of time due

to the injuries, and he still experiences daily pain from the injuries.




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      8.     Upon information and belief, Defendants owned and operated the Vessel

that Plaintiff was on at the time of the Accident. At all times relevant herein,

Defenadnts failed to operate the Vessel in a safe and prudent manner, failed to give

passengers proper safety instructions prior to boarding, failed to equip the Vessel with

proper safety features to prevent passengers from being thrown from their seats, failed

to cancel the tour despite knowledge that unsafe conditions existed, and committed

such other negligent acts and ommissions that proximately caused Plaintiff’s injuries

as will be revealed by further discovery.

                                       COUNT I

                                    NEGLIGENCE

      9.     Plaintiff incorporates by reference and realleges as if fully set forth

herein, the allegations contained in all preceding paragraphs.

      10.    At all times relevant herein, Defendants owed Plaintiff a duty of

reasonable care under the circumstances and a duty to protect Plaintiff from

unreasonable risk of physical harm.

      11.    At all times relevant herein Defendants breached this duty of care by

failing to operate the Vessel in a safe and prudent manner, failing to give passengers

proper safety instructions prior to boarding, failing to equip the Vessel with proper



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safety features to prevent passengers from being thrown from their seats, failing to

cancel the tour despite knowledge that unsafe conditions existed and by committing

such other negligent acts and ommissions that proximately caused Plaintiff’s injuries

as will be revealed by further discovery. At all material times Defendans had actual or

constructive notice of the above conditions and knew or should have known that the

above conditions created an unreasonable risk of harm to Plaintiff.

      12.    As a direct and proximate result of the Defendants’ negligence as alleged

above, Plaintiff suffered and continues to suffer from severe injuries, pain and

suffering, emotional distress, lost income and other special and general damages in

amounts according to proof that are in excess of this Court’s minimum jurisdiction.

                                      COUNT II

                NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

      13.    Plaintiff incorporates by reference and realleges as if fully set forth

herein, the allegations contained in paragraphs 1 through 18 above.

      14.    In performing all of the acts described above, Defendants negligently

inflicted severe emotional distress on Plaintiff.




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       15.   As a direct and proximate result of the Defendants negligent infliction of

severe emotional distress, Plaintiff suffered special and general damages in amounts to

be proven at trial.

       WHEREFORE, Plaintiff CHRISTOPHER J. CAVALERI prays for judgment

against Defendants, jointly and severally, as follows:

       A.     For general damages in an amount to be proven at trial in excess of

$75,000;

       B.     For special damages in an amount to be proven in trial in excess of

$75,000;

       C.     For consequential and incidental damages in an amount to be proven at

trial, and

       D.     For attorneys’ fees, costs of suit, prejudgment interest from the date of

this incident, and such other and further relief, both legal and equitable, that this Court

deems just and proper under the circumstances.



       DATED: Honolulu, Hawaii, September 19, 2017

                                         _/s/Jared A. Washkowitz____________
                                         JARED A. WASHKOWITZ
                                         Attorneys for Plaintiff
                                         CHRISTOPHER J. CAVALERI


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